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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK



DAVID LIEBLICH,

                            Plaintiff,

              -v-                                  Civil Case Number: 7:19-cv-06616-PMH

EQUIFAX INFORMATION SERVICES,
LLC, TRANSUNION, LLC, and
EXPERIAN INFORMATION
SOLUTIONS, INC., HYUNDAI MOTOR
FINANCE d/b/a HYUNDAI CAPITAL
AMERICA,

                            Defendants.


                            [PROPOSED] DISMISSAL ORDER

IT IS HEREBY ORDERED:

      THAT pursuant to the parties’ November 5, 2020 Stipulation of Dismissal, all claims

asserted against last remaining Defendant HYUNDAI MOTOR FINANCE d/b/a HYUNDAI

CAPITAL AMERICA in Civil Action No. 7:19-cv-06616-PMH, are dismissed with prejudice;

and

      THAT all parties shall bear their own attorneys’ fees and costs incurred in this action.


SO ORDERED THIS _ 6th           day of November 2020.


                                                                 ___________
                                            HONORABLE PHILIP M. HALPERN
                                            UNITED STATES DISTRICT JUDGE
